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 1   TERRANCE WALKER
     Plaintiff, in propria persona
 2   212 Hillcrest Drive # 1
 3   Reno, NV 89509
     Tel: +1.775.971.8679
 4   Email: walkerbillion@gmail.com

 5                IN THE UNITED STATES DISTRICT COURT FOR NEVADA
      ____________________________________________________________________________
 6   Terrance Walker                : CIVIL CASE NO. 3:18-CV-0132-MMD (CBC)
 7           Plaintiff,                     :
 8                           vs.            : ERRATA TO REPLY TO MOTION TO QUASH
     Intelli-heart Services Inc.,           : JAMES WINTER’S SUBPOENA (EFC 72)
 9
             Defendant.                    :
10
     ________________________________________________________________________
11   COMES NOW Plaintiff Terrance Walker(“Plaintiff” or “Walker”) respectfully submits an errata:

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     1) On (EFC 72, page 6), Walker’s Reply to the Response of his Motion to Quash the Subpoena to
13   James Winters, it states:
14   The Honorable Judge Du has already ruled against such a construction as Defendant urges:
15   “ ‘To be effective, an anti-assignment clause should contain a specific prohibition on the power to
     make an assignment and specifically state that any attempted assignments will be void or invalid.’
16   (citations omitted)” Erection Co. v. Archer W. Contractors, LLC, No. 2:12-CV-00612-MMD-NJ,
     2015 WL 926782, at *7–8 (D. Nev. Mar. 4, 2015) (finding that the agreement “contains no
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     express prohibition” on the power to make an assignment. Where the subcontract stated “This
18   Subcontract shall not be subcontracted or assigned in whole or in part by the subcontractor [TEC]
     except with the written consent of the Company [Postel]. Any attempt to effectuate a subcontract
19   or an assignment shall be null and void ab initio” though holding the Miller Act claim pre-
     empted) [Note: Walker does assert a Miller Act, Construction contract claim]
20
21   2) It should state (note change in BOLD):

22   The Honorable Judge Du has already ruled against such a construction as Defendant urges:

23   “ ‘To be effective, an anti-assignment clause should contain a specific prohibition on the power to
     make an assignment and specifically state that any attempted assignments will be void or invalid.’
24   (citations omitted)” Erection Co. v. Archer W. Contractors, LLC, No. 2:12-CV-00612-MMD-NJ,
     2015 WL 926782, at *7–8 (D. Nev. Mar. 4, 2015) (finding that the agreement “contains no
25   express prohibition” on the power to make an assignment. Where the subcontract stated “This
     Subcontract shall not be subcontracted or assigned in whole or in part by the subcontractor [TEC]
26
     except with the written consent of the Company [Postel]. Any attempt to effectuate a subcontract
27   or an assignment shall be null and void ab initio” though holding the Miller Act claim pre-
     empted) [Note: Walker does NOT assert a Miller Act, Construction contract claim]
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 1   WHEREFORE, the Court and parties should take note.
 2   RESPECTFULLY SUBMITTED,

 3   /s/ Terrance Walker____________________ Dated Feb.16, 2019

 4   Terrance Walker
                                                        CERTIFICATE OF SERVICE
 5
     The undersigned certifies that the undersigned is over the age of 18 and that on Feb 16, 2019, that he personally served all parties
 6   to this case by the electronic filing system one copy of this filing to the parties at the address listed below.

 7   /s/ TERRANCE WALKER
     signed, Terrance Walker/s/ TERRANCE WALKER
 8   Copy to: Will Geddes, Esq. THE GEDDES LAW FIRM, P.C. 8600 Technology Way, Suite 107 Reno, Nevada 89521
     Phone: (775) 853-9455 Fax: (775) 853-6899 E-Mail: Will@TheGeddesLawFirm.com
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